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EXHIBIT A
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      Court of Common Pleas of Philadelphia County                                             For Prothonotary Use Only (Docket Number)
                    Trial Division
                   Civil Cover Sheet                                      E-Filing Number:   2207006023
PLAINTIFF'S NAME                                                          DEFENDANT'S NAME
 JOHNNIE PURNELL                                                            SYNGENTA CROP PROTECTION, LLC

PLAINTIFF'S ADDRESS                                                       DEFENDANT'S ADDRESS
 3207 LAUREN OAKS LANE                                                      C/O THE CORPORATION TRUST COMP 1209 ORANGE
 HUMBLE TX 77396                                                            STREET
                                                                            WILMINGTON DE 19801

PLAINTIFF'S NAME                                                          DEFENDANT'S NAME
                                                                            CHEVRON U.S.A. INC.

PLAINTIFF'S ADDRESS                                                       DEFENDANT'S ADDRESS
                                                                            6001 BOLLINGER CANYON ROAD D1248
                                                                            SAN RAMON CA 94583


PLAINTIFF'S NAME                                                          DEFENDANT'S NAME
                                                                            FMC CORPORATION

PLAINTIFF'S ADDRESS                                                       DEFENDANT'S ADDRESS
                                                                            2929 WALNUT STREET
                                                                            PHILADELPHIA PA 19104


TOTAL NUMBER OF PLAINTIFFS         TOTAL NUMBER OF DEFENDANTS       COMMENCEMENT OF ACTION
                                                                      X Complaint                 Petition Action                     Notice of Appeal
               1                                     3
                                                                        Writ of Summons           Transfer From Other Jurisdictions
AMOUNT IN CONTROVERSY          COURT PROGRAMS

                                   Arbitration              X Mass Tort                            Commerce                        Settlement
    $50,000.00 or less             Jury                       Savings Action                       Minor Court Appeal              Minors
 X More than $50,000.00            Non-Jury                   Petition                             Statutory Appeals               W/D/Survival
                                   Other:
CASE TYPE AND CODE

  XN - MT - PARAQUAT PRODUCTS

STATUTORY BASIS FOR CAUSE OF ACTION




RELATED PENDING CASES (LIST BY CASE CAPTION AND DOCKET NUMBER)                                                      IS CASE SUBJECT TO
                                                                                                                    COORDINATION ORDER?
                                                                                                                                YES         NO


                                                                   JUL 05 2022
                                                                     A. STAMATO

TO THE PROTHONOTARY:
Kindly enter my appearance on behalf of Plaintiff/Petitioner/Appellant: JOHNNIE PURNELL
Papers may be served at the address set forth below.

NAME OF PLAINTIFF'S/PETITIONER'S/APPELLANT'S ATTORNEY                    ADDRESS

 TAYJES MATTHEW. SHAH                                                      108 RAILROAD AVE
                                                                           ORANGE VA 22960
PHONE NUMBER                            FAX NUMBER

 (540)672-4224                          (540)672-3055

SUPREME COURT IDENTIFICATION NO.                                         E-MAIL ADDRESS

 307899                                                                    tshah@millerfirmllc.com

SIGNATURE OF FILING ATTORNEY OR PARTY                                    DATE SUBMITTED
 TAYJES SHAH                                                               Tuesday, July 05, 2022, 06:17 pm

                                                  FINAL COPY (Approved by the Prothonotary Clerk)
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 Aimee H. Wagstaff (pro hac vice forthcoming)   Tayjes Shah (Identification
                                                                  Filed and No.:Attested
                                                                                 307899) by the
 WAGSTAFF LAW FIRM                              THE MILLER FIRM, OfficeLLCof Judicial Records
 Colo Bar 36819                                 108 Railroad Avenue 05 JUL 2022 06:17 pm
 940 N. Lincoln Street Denver, CO 80203         Orange, Virginia 22960      A. STAMATO
 Tel: (303) 376-6360                            Tel: (540) 672–4224
 Fax: (888) 875-2889                            Fax: (540) 672–3055
 Email: Awagstaff@wagstafflawfirm.com           E–Mail: tshah@millerfirmllc.com


 ATTORNEYS FOR PLAINTIFF


                                                           COURT OF COMMON PLEAS
                                                             PHILADELPHIA COUNTY

Johnnie Purnell
3207 Lauren Oaks Lane
Humble, TX 77396


              Plaintiff,                        July Term, 2022

v.                                              Case No.

                                                DEMAND FOR A JURY TRIAL
SYNGENTA CROP PROTECTION, LLC
c/o THE CORPORATION TRUST COMPANY
1209 ORANGE STREET
WILMINGTON, DELAWARE 19801

CHEVRON U.S.A. INC.
6001 BOLLINGER CANYON ROAD
D1248
SAN RAMON, CA 94583

FMC CORPORATION
2929 WALNUT STREET
PHILADELPHIA, PA 19104

              Defendants.




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                                                        NOTICE TO PLEAD
NOTICE You have been sued in court. If you wish to defend            AVISO Le han demandado a usted en la corte. Si usted quiere
against the claims set forth in the following pages, you must take   defenderse de estas demandas expuestas en las paginas
action within twenty (20) days after this complaint and notice are   siquientes, usted tiene veinte (20) dias de plazo al partir de la
served, by entering a written appearance personally or by            fecha de lan demanda y la notificacion. Hace falta asentar una
attorney and filing in writing with the court your defenses or       comparesencia escrita o en persona o con un abogado y
objections to the claims set forth against you. You are warned       entregar a la corte en forma escrita sus defensas o sus
that if you fail to do so the case may proceed without you and a     objeciones a las demandas en contra de su persona. Sea
judgment may be entered against you by the court without further     avisado que si usted no se defiende, la corte tomara medidas y
notice for any money claimed in the complaint or for any other       puede continuar la demanda en contra suya sin previo aviso o
claim or relief requested by the plaintiff. You may lose money or    notificacion. Ademas, la corte puede decidir a favor del
property or other rights important to you.                           demandante y requiere que usted cumpla con todas las
                                                                     provisiones de esta demanda. Usted puede perder dinero o sus
                                                                     propiedades u otros derechos importantes para usted.

YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT                         LLEVE ESTA DEMANDA A UN ABOGADO
ONCE. IF YOU DO NOT HAVE A LAWYER OR CANNOT                          INMEDIATAMENTE. SI NO TIENE ABOGADO O SI NO
AFFORD ONE, GO TO OR TELEPHONE THE OFFICE SET                        TIENE EL DINERO SUFICIENTE DE PAGAR TAL
FORTH BELOW TO FIND OUT WHERE YOU CAN GET                            SERVICIOI, VAYA EN PERSONA O LLAME POR
LEGAL HELP.                                                          TELEFONO A LA OFICINA CUYA DIRECCION SE
                                                                     ENCUENTRA ESCRITA ABAJO PARA AVERIGUAR
                                                                     DONDE SE PUEDE CONSEGUIR ASISTENCIA LEGAL.

   PHILADELPHIA COUNTY BAR ASSOCIATION                                ASOCIACION DE LICENCIADOS DE FILADELFIA
  LAWYER REFERRAL AND INFORMATION SERVICE                            SERVICIO DE REFERENCIA E INFORMACION LEGAL
            ONE READING CENTER                                                   ONE READING CENTER
 PHILADELPHIA, PENNSYLVANIA 19107 TELEPHONE:                              PHILADELPHIA, PENNSYLVANIA 19107
                  (215) 238-6333                                               TELEPHONE: (215) 238-6333
                TTY (215) 451-6197                                                 TTY (215) 451-6197




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                                                                                                                                 Case ID: 220700208
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 Aimee H. Wagstaff (pro hac vice forthcoming)       Tayjes Shah (Identification No.: 307899)
 WAGSTAFF LAW FIRM                                  THE MILLER FIRM, LLC
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                                                               COURT OF COMMON PLEAS
                                                                 PHILADELPHIA COUNTY
Johnnie Purnell
3207 Lauren Oaks Lane
Humble, TX 77396


              Plaintiff,                            July Term, 2022

v.                                                  Case No.

                                                    DEMAND FOR A JURY TRIAL
SYNGENTA CROP PROTECTION, LLC
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1209 ORANGE STREET
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CHEVRON U.S.A. INC.
6001 BOLLINGER CANYON ROAD
D1248
SAN RAMON, CA 94583

FMC CORPORATION
2929 WALNUT STREET
PHILADELPHIA, PA 19104

              Defendants.


            PLAINTIFF’S COMPLAINT AND DEMAND FOR JURY TRIAL

      Plaintiff Johnnie Purnell by undersigned counsel, hereby submits this Complaint against the

above-captioned Defendants for equitable relief, monetary restitution, and/or compensatory and

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punitive damages. Plaintiff makes the following allegations based upon personal knowledge, and

upon information and belief, as well as his attorneys’ investigative efforts, regarding Paraquat and

its connection to Parkinson’s disease.

                                 STATEMENT OF THE CASE
1.     This is a products liability action against the above-named Defendants (hereinafter,

collectively referred to as “Defendants”) because Plaintiff suffered from the severe effects of

Parkinson’s disease caused by exposure to products containing Paraquat (“PRODUCTS” or

“Paraquat”) which were sold, manufactured, distributed, and/or marketed by Defendants.

2.     Plaintiff, through this action, seeks recovery for damages as a result of their developing

Parkinson’s disease, which was directly and proximately caused by such wrongful conduct by

Defendants, the unreasonably dangerous and defective nature of Paraquat, and the attendant effects

of developing Parkinson’s disease.

3.     At all relevant times, all Defendants were engaged in the research, development,

manufacture, design, testing, sale and marketing of Paraquat, and introduced such products into

the stream of commerce with knowledge and intent that such products be sold in all States of the

United States.

4.     Defendants worked in tandem to conceal and continue to conceal their knowledge of

Paraquat’s unreasonably dangerous risks from Plaintiff, other consumers, and the medical

community. Specifically, Defendants failed to adequately inform Plaintiff, consumers, and the

medical community about the risks of Parkinson’s disease associated with the use of Paraquat,

which were known to and withheld by Defendants.

                                JURISDICTION AND VENUE

5.     At all times relevant hereto, Defendants were in the business of researching, designing,

formulating, compounding, testing, manufacturing, producing, processing, assembling, inspecting,
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distributing, marketing, labeling, promoting, packaging and/or advertising Paraquat products. At

all times relevant hereto, Defendants had offices in Pennsylvania and/or regularly solicited and

transacted business in the Commonwealth of Pennsylvania and Philadelphia County. In addition,

the Defendants reasonably expected that Paraquat would be used or consumed in Pennsylvania and

Philadelphia County.

6.     This is an action for damages which exceeds fifty thousand dollars ($50,000).

7.     Plaintiff has timely filed this lawsuit within two years of discovering his cause of action as

defined and require by Pennsylvania 42 Pa. Cons. State. § 5524(2).

8.     Venue of this case is proper in Philadelphia County because Defendants regularly conduct

business in Philadelphia County.

9.     Defendant FMC Corporation is headquartered in Philadelphia and maintains a registered

agent in Philadelphia

10.    Defendant CHEVRON U.S.A. INC regularly conducts substantial and continuous business

in Philadelphia. Defendant Syngenta Crop Protection, LLC (“SCPLLC”) regularly conducts

substantial business in Philadelphia.

11.    This is a complex product liability tort case. This Court is renowned for its ability and

resources to handle complex tort litigation dockets in an organized and efficient fashion. No other

county in Pennsylvania is better suited to handle such claims.

12.    Pursuant to Pa. R.C.P. 1006(c) in actions alleging joint and several liability against two or

more defendants, venue is proper if it is proper as to any of the defendants. In this case, Plaintiff

alleges joint and several liability on more than two defendants. Philadelphia County is the proper

venue for a number of these defendants. Therefore, venue is proper on all defendants.

13.    General and/or specific personal jurisdiction is proper as to Defendants for the reasons

stated below.

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14.    Jurisdiction is proper as to Chevron U.S.A. in Pennsylvania because it 1) is “at home” in

Pennsylvania, 2) it maintains significant business in Pennsylvania, and 3) it consented to

jurisdiction in Pennsylvania by registering to do business in Pennsylvania. See, e.g., Bors v.

Johnson & Johnson, No. CV 16-2866, 2016 WL 517286 at *1 (E.D. Pa. Sept. 20, 2016).

15.    Jurisdiction is proper as to the Syngenta Crop Protection, LLC because 1) Syngenta Crop

Protection, LLC regularly employs employees in Pennsylvania and maintains significant contacts

with Pennsylvania, see, e.g., Bristol-Myers Squibb Co. v. Superior Court, 377 P.3d 874 (Cal.

2016); 2) Syngenta Crop Protection, LLC. consented to jurisdiction in Pennsylvania by registering

to do business in Pennsylvania, see, e.g., Bors v. Johnson & Johnson, No. CV 16- 2866, 2016 WL

517286 at *1 (E.D. Pa. Sept. 20, 2016); 3) Syngenta Crop Protection, LLC maintains significant

contacts in Pennsylvania, including but not limited to the sale of its dangerous PRODUCTS to

consumers in Pennsylvania; and 4) Syngenta Crop Protection, LLC purposefully sought to

suppress warnings on the risk that Paraquat posed to those using Paraquat for Parkinson’s disease,

to omit any warnings on Paraquat, and to prevent Pennsylvania regulation of Paraquat so as not to

negatively affect sales and maximize Defendants’ profits in the Commonwealth of Pennsylvania.

Skipworth by Williams v. Lead Industries Ass'n, Inc., 690 A.2d 169, 174 (Pa. 1997).

16.    Jurisdiction is proper as to FMC Corporation Inc. in Pennsylvania because it 1) is “at home”

in Pennsylvania, 2) it maintains significant business in Pennsylvania, and 3) it consented to

jurisdiction in Pennsylvania by registering to do business in Pennsylvania. See, e.g., Bors v.

Johnson & Johnson, No. CV 16-2866, 2016 WL 517286 at *1 (E.D. Pa. Sept. 20, 2016).

                        PLAINTIFF’S EXPOSURE TO PARAQUAT


17.    Plaintiff Johnnie Purnell is a resident of Texas. From approximately 1976 to 1980, Mr.

Purnell mixed and sprayed Paraquat with a hand sprayer and tractor.

18.    Mr. Purnell was exposed to Paraquat (1) when it was mixed, loaded, applied, and/or
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cleaned; (2) as a result of spray drift (the movement of herbicide spray droplets from the target

area to an area where herbicide application was not intended, typically by wind); and/or (3) as a

result of contact with sprayed plants and equipment covered in Paraquat. Paraquat came into

contact with Mr. Purnell’s skin and clothes. Mr. Purnell inhaled Paraquat.

19.    At all relevant times, it was reasonably foreseeable that when Paraquat was used in the

intended or a reasonably foreseeable manner, users of Paraquat and persons nearby, such Mr.

Purnell, would be exposed to it.

20.    At all relevant times, it was reasonably foreseeable that Paraquat could enter Mr. Purnell’s

body: (1) through absorption or penetration of the skin, mucous membranes, and other epithelial

tissues (including tissues of the mouth, nose and nasal passages, trachea, and conducting airways,

particularly where cuts, abrasions, rashes, sores, or other tissue damage were present); (2) through

the olfactory bulb; (3) through respiration into the lungs; and (4) through ingestion into the

digestive tract of small droplets swallowed after entering the mouth, nose, or conducting airways.

                      PARAQUAT CAUSES PARKINSON’S DISEASE

21.    At all relevant times, it was reasonably foreseeable that Paraquat that entered a human body

could ultimately enter the brain.

22.    At all relevant times, it was reasonably foreseeable that Paraquat that entered a human body

could induce the misfolding of the alpha synuclein protein.

23.    Parkinson’s disease is a progressive neurodegenerative disorder of the brain that affects

primarily the motor system-the part of the central nervous system that controls movement.

24.    The characteristic symptoms of Parkinson’s disease are its “primary” motor symptoms:

resting tremor (shaking movement when the muscles are relaxed), bradykinesia (slowness in

voluntary movement and reflexes), rigidity (stiffness and resistance to passive movement), and

postural instability (impaired balance).

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25.     Parkinson’s disease’s primary motor symptoms often result in “secondary” motor

symptoms such as freezing of gait; shrinking handwriting; mask-like expression; slurred,

monotonous, quiet voice; stooped posture; muscle spasms; impaired coordination; difficulty

swallowing; and excess saliva and drooling caused by reduced swallowing movements.

26.     Non-motor symptoms-such as loss of or altered sense of smell; constipation; low blood

pressure on rising to stand; sleep disturbances; and depression-are present in most cases of

Parkinson’s disease, often for years before any of the primary motor symptoms appear.

27.     There is currently no cure for Parkinson’s disease; no treatment will stop or reverse its

progression; and the treatments most commonly prescribed for its motor symptoms tend to become

progressively less effective, and to increasingly cause unwelcome side effects, the longer they are

used.

28.     One of the primary pathophysiological hallmarks of Parkinson’s disease is the selective

degeneration and death of dopaminergic neurons (dopamine-producing nerve cells) in a part of the

brain called the substantia nigra pars compacta (“SNpc”).

29.     Dopamine is a neurotransmitter (a chemical messenger that transmits signals from one

neuron to another neuron, muscle cell, or gland cell) that is critical to the brain’s control of motor

function (among other things).

30.     The death of dopaminergic neurons in the SNpc decreases the production of dopamine.

Once dopaminergic neurons die, they are not replaced; when enough dopaminergic neurons have

died, dopamine production falls below the level the brain requires for proper control of motor

function, resulting in the motor symptoms of Parkinson’s disease.

31.     The presence of Lewy bodies (insoluble aggregates of a protein called alpha-synuclein) in

many of the remaining dopaminergic neurons in the SNpc is another of the primary

pathophysiological hallmarks of Parkinson’s disease.

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32.     Dopaminergic neurons are particularly susceptible to oxidative stress, a disturbance in the

normal balance between oxidants present in cells and cells’ antioxidant defenses.

33.     Scientists who study Parkinson’s disease generally agree that oxidative stress is a major

factor in-if not the precipitating cause of-the degeneration and death of dopaminergic neurons in

the SNpc and the accumulation of Lewy bodies in the remaining dopaminergic neurons that are

the primary pathophysiological hallmarks of the disease.

34.     Paraquat is highly toxic to both plants and animals, creating oxidative stress that causes or

contributes to cause the degeneration and death of plant or animal cells.

35.     Paraquat creates oxidative stress in the cells of plants and animals because of “redox

properties” that are inherent in its chemical composition and structure: it is a strong oxidant, and

it readily undergoes “redox cycling” in the presence of molecular oxygen, which is plentiful in

living cells.

36.     The redox cycling of Paraquat in living cells interferes with cellular functions that are

necessary to sustain life-with photosynthesis in plant cells, and with cellular respiration in animal

cells. The redox cycling of Paraquat in living cells creates a “reactive oxygen species” known as

superoxide radical, an extremely reactive molecule that can initiate a cascading series of chemical

reactions that creates other reactive oxygen species that damage lipids, proteins, and nucleic acids,

molecules that are essential components of the structures and functions of living cells. Because the

redox cycling of Paraquat can repeat indefinitely in the conditions typically present in living cells,

a single molecule of Paraquat can trigger the production of countless molecules of destructive

superoxide radical.

37.     Paraquat’s redox properties have been known to science since at least the 1930s.

38.     It has been scientifically known since the 1960s that Paraquat (due to its redox properties)

is toxic to the cells of plants and animals. The same redox properties that make Paraquat toxic to

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plant cells and other types of animal cells make it toxic to dopaminergic neurons in humans—that

is, Paraquat is a strong oxidant that interferes with the function of, damages, and ultimately kills

dopaminergic neurons in the human brain by creating oxidative stress through redox cycling.

39.    Paraquat is one of only a handful of toxins that scientists use to produce animal models of

Parkinson’s disease, i.e., use in a laboratory to artificially produce the symptoms of Parkinson’s

disease in animals.

40.    Animal studies involving various routes of exposure have found that Paraquat creates

oxidative stress that results in the degeneration and death of dopaminergic neurons in the SNpc,

other pathophysiology consistent with that seen in human Parkinson’s disease, and motor deficits

and behavioral changes consistent with those commonly seen in human Parkinson’s disease.

41.    Hundreds of in vitro studies (experiments in a test tube, culture dish, or other controlled

experimental environment) have found that Paraquat creates oxidative stress that results in the

degeneration and death of dopaminergic neurons (and many other types of animal cells).

42.    Epidemiological studies have found that exposure to Paraquat significantly increases the

risk of contracting Parkinson’s disease. A number of studies have found that the risk of Parkinson’s

disease is more than double in populations with occupational exposure to Paraquat compared to

populations without such exposure.

43.    These convergent lines of evidence (toxicology, animal experiments, and epidemiology)

demonstrate that Paraquat exposure generally can cause Parkinson’s disease.

                                  PARAQUAT REGULATION

44.    The Federal Insecticide, Fungicide, and Rodenticide Act (“FIFRA”), 7 U.S.C. § 136 et seq.,

which regulates the distribution, sale, and use of pesticides within the U.S., requires that pesticides

be registered with the U.S. Environmental Protection Agency (“EPA”) prior to their distribution,

sale, or use, except as described by FIFRA. 7 U.S.C. 136a(a).

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45.    The Pennsylvania Pesticide Control Act of 1973, which regulates the labeling, distribution,

use, and application of pesticides within the State of Pennsylvania, requires that pesticides be

registered with the Pennsylvania Department of Agriculture before they are sold in Pennsylvania.

46.    Paraquat is a “restricted use pesticide” under federal law, see 40 C.F.R. § 152.175, which

means it is “limited to use by or under the direct supervision of a certified applicator.”

47.    As part of the pesticide registration process, the EPA requires, among other things, a variety

of tests to evaluate the potential for exposure to pesticides, toxicity to people and other potential

non-target organisms, and other adverse effects on the environment.

48.    As a general rule, FIFRA requires registrants, the chemical companies registered to sell the

pesticides, to perform health and safety testing of pesticides. However, FIFRA does not require

the EPA itself to perform health and safety testing of pesticides, and the EPA generally does not

perform such testing.

49.    The EPA registers (or re-registers) a pesticide if it is persuaded, based largely on studies

and data submitted by the registrant, that: (1) its composition is such as to warrant the proposed

claims for it, 7 U.S.C. § 136a(c)(5)(A); (2) its labeling and other material required to be submitted

comply with the requirements of FIFRA, 7 U.S.C. § 136a(c)(5)(B); (3) it will perform its intended

function without unreasonable adverse effects on the environment, 7 U.S.C. § 136a(c)(5)(C); and

(4) when used in accordance with widespread and commonly recognized practice it will not

generally cause unreasonable adverse effects on the environment, 7 U.S.C. § 136a(c)(5)(D).

50.    FIFRA defines “unreasonable adverse effects on the environment” as “any unreasonable

risk to man or the environment, taking into account the economic, social, and environmental costs

and benefits of the use of any pesticide.” 7 U.S.C. § 136(bb).

51.    Under FIFRA, “[a]s long as no cancellation proceedings are in effect registration of a

pesticide shall be prima facie evidence that the pesticide, its labeling and packaging comply with

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the registration provisions of [FIFRA].” 7 U.S.C. § 136a(f)(2). However, FIFRA further provides

that “[i]n no event shall registration of an article be construed as a defense for the commission of

any offense under [FIFRA].” 7 U.S.C. § 136a(f)(2).

52.    The distribution or sale of a pesticide that is misbranded is an offense under FIFRA, which

provides in relevant part that “it shall be unlawful for any person in any State to distribute or sell

to any person ... any pesticide which is ... misbranded.” 7 U.S.C. § 136j(a)(1)(E). A pesticide is

misbranded under FIFRA if, among other things: (1) its labeling bears any statement, design, or

graphic representation relative thereto or to its ingredients which is false or misleading in any

particular, 7 U.S.C. § 136(q)(1)(A); (2) the labeling accompanying it does not contain directions

for use which are necessary for effecting the purpose for which the product is intended and if

complied with, together with any requirements imposed under section 136a(d) of this title, are

adequate to protect health and the environment, 7 U.S.C. § 136(q)(1)(F); or (3) the label does not

contain a warning or caution statement which may be necessary and if complied with, together

with any requirements imposed under section 136a(d) of this title, is adequate to protect health and

the environment,” 7 U.S.C. § 136(q)(1)(G).

53.    As a result, a pesticide may be misbranded despite an EPA determination that it met

FIFRA’s registration criteria. In other words, notwithstanding its registration, a pesticide is

misbranded if its label contains “false or misleading” statements, has inadequate instructions for

use, or omits warnings or cautionary statements necessary to protect human health. Similarly, a

pesticide may be found to cause unreasonable adverse effects on humans when used according to

the approved label despite a determination by the EPA that it would not.

54.    Plaintiff does not seek in this action to impose on Defendants any labeling or packaging

requirement in addition to or different from those required under FIFRA. Any allegation in this

Complaint that a Defendant breached a duty to provide adequate directions for the use of or

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warnings about Paraquat, breached a duty to provide adequate packaging for Paraquat, concealed,

suppressed, or omitted to disclose any material fact about Paraquat, or engaged in any unfair or

deceptive practice regarding Paraquat, is intended and should be construed to be consistent with

that alleged breach, concealment, suppression, or omission, or unfair or deceptive practice having

rendered the Paraquat “misbranded” under FIFRA. However, Plaintiff brings claims and seeks

relief in this action only under state law and does not bring any claims or seek any relief in this

action under FIFRA.

                           ACTS OF SYNGENTA DEFENDANTS

55.    SCPLLC is a limited liability company organized under the laws of the State of Delaware.

It is a successor by merger or continuation of business to its corporate predecessors, including but

not limited to ICI Americas. SCPLLC is registered in Pennsylvania to do business in the

Commonwealth of Pennsylvania.

56.    SCPLLC or its corporate predecessors have sufficient minimum contacts with the

Commonwealth of Pennsylvania and have purposefully availed themselves of the privileges of

conducting business in the Commonwealth of Pennsylvania, in that they:

         a.      secured and maintained the registration of Paraquat and other herbicides and

          pesticides with Pennsylvania authorities to enable themselves and others to manufacture,

          distribute, sell, and use these products in Pennsylvania;

         b.      marketed, licensed, advertised, distributed, sold, and delivered Paraquat and

          other herbicides and pesticides to chemical companies, licensees, distributors, and

          dealers whom they expected to distribute and sell Paraquat and other pesticides in or for

          use in Pennsylvania, including the Chevron Defendants, FMC Defendant, and “Syngenta

          Retailers,” as well as to applicators and farmers in the State of Pennsylvania; and

         c.      employed or utilized sales representatives to market and sell Paraquat and other

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          pesticides in Pennsylvania.

57.    SCPLLC’s contacts with Pennsylvania are related to or gave rise to this controversy.

58.    On information and belief, SCPLLC and/or its predecessors have been aware that Paraquat

causes Parkinson’s disease, Parkinson’s disease symptoms, and related neuropathologies since at

least the 1970s. Internal research studies and analyses indicated that low-dose Paraquat exposure

could cause or significantly increase the risk of Parkinson’s disease. Yet SCPLLC and its

predecessors took no action to protect end-users of its Paraquat products, including Plaintiff.

59.    On information and belief, SCPLLC and/or its predecessors maintained open and ongoing

communications with Chevron U.S.A. and FMC concerning the potential health consequences of

low-dose Paraquat exposure and supplied scientific studies demonstrating that low-dose Paraquat

exposure increased the risk of Parkinson’s disease, Parkinson’s disease symptoms, and related

neuropathologies.

60.    On information and belief, at all relevant times through the end of 1986 at the earliest,

SCPLLC and Chevron, as well as the companies they worked with, including FMC, were the

exclusive designers, manufactures, and suppliers of Paraquat in the United States.

61.    On information and belief, at all relevant times beginning in 1987, SCPLLC and/or its

corporate predecessors were the exclusive designers, manufacturers, distributors, and/or licensors

of Paraquat in the United States.

                             ACTS OF CHEVRON DEFENDANT

62.    Chevron U.S.A., Inc. is a corporation organized under the laws of the State of

Pennsylvania, with its headquarters and principal place of business in San Ramon, California.

63.    Jurisdiction and venue are proper over Chevron U.S.A. Inc. because it:

         a.       secured and maintained the registration of Paraquat products and other pesticides

          with Pennsylvania authorities to enable themselves and others to manufacture, distribute,

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           sell, and use these products in the State of Pennsylvania;

           b.        marketed, licensed, advertised, distributed, sold, and delivered Paraquat and

           other pesticides to chemical companies, licensees, distributors, and dealers whom they

           expected to distribute and sell Paraquat and other pesticides in or for use in the State of

           Pennsylvania, including the Chevron Defendants, FMC Corporation, and “Syngenta

           Retailers,” as well as to applicators and farmers in the Commonwealth of Pennsylvania;

           c.        is incorporated in the Commonwealth of Pennsylvania; and

           d.        conducted substantial business in the Commonwealth of Pennsylvania and

           County of Philadelphia.

64.    On information and belief, Chevron U.S.A. and/or its predecessors have been aware that

Paraquat        causes   Parkinson’s   Disease,   Parkinson’s   Disease   symptoms,     and    related

neuropathologies since at least the 1970s. Internal research studies and analyses indicated that low-

dose Paraquat exposure could cause or significantly increase the risk of Parkinson’s Disease. Yet

Chevron U.S.A. and its predecessors took no action to protect end-uses of its Paraquat products,

including Plaintiff.

65.    On information and belief, Chevron U.S.A. and/or its predecessors maintained open and

ongoing communications with SCPLLC and/or its predecessors concerning the potential health

consequences of low-dose Paraquat exposure and supplied scientific studies demonstrating that

low-dose Paraquat exposure increased the risk of Parkinson’s disease, Parkinson’s disease

symptoms, and related neuropathologies.

66.    On information and belief, Chevron U.S.A. and or its predecessors supplied companies

they contracted or otherwise worked with, including FMC, with manuals or other documents

describing the potential health consequences of low-dose Paraquat exposure.

67.    On information and belief, at all relevant times through the end of 1986 at the earliest,

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SCPLLC and Chevron, as well as the companies they worked with, including FMC, were the

exclusive designers, manufactures, and suppliers of Paraquat in the United States.

68.    On information and belief, at all relevant times including after 1986, Chevron continued to

sell surfactants and other chemicals recommended to be used with Paraquat and which Chevron

knew would increase the health risks of low-dose Paraquat exposure and other foreseeable uses of

Paraquat.

                           ACTS OF FMC CORPORATION

69.    Defendant FMC Corporation is a Delaware corporation with its headquarters and principal

place of business in Philadelphia, Pennsylvania. FMC Corporation acquired and merged with

Cheminova A/S, a member of the JGTF, and is the successor corporation to Cheminvoa A/S.

70.    Defendant FMC Corporation marketed, sold, and distributed Paraquat products and

or/surfactants and other pesticides for use in combination with Paraquat in Pennsylvania and

throughout the United States.

71.    On information and belief, FMC received manuals or other documents describing the

potential health consequences of low-dose Paraquat exposure from Chevron and/or SCPLLC.

72.    On information and belief, at all relevant times, FMC sold surfactants and other chemicals

recommended to be used with Paraquat and which FMC knew would increase the health risks of

low-dose Paraquat exposure and other foreseeable uses of Paraquat.

73.    On information and belief, FMC worked with Chevron and other companies as part of the

manufacture of Paraquat by bottling formulated Paraquat shipped to FMC by Chevron and other

companies that Chevron had contracted with. The Paraquat FMC bottled was eventually sold to

consumers throughout the United States.




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      DEFENDANTS’ TORTIOUS CONDUCT RESULTED IN PLAINTIFF’S INJURIES

74.     Plaintiff hereby refers to, incorporates, and re-alleges by this reference as though set forth

in full, each and every allegation hereinabove and makes them a part of the following allegations.

75.     Plaintiff Johnnie Purnell was exposed to Paraquat manufactured, formulated and/or

distributed by SCPLLC or its predecessors.

76.     Mr. Purnell was exposed to Paraquat manufactured, formulated and/or distributed by

Chevron U.S.A. or its predecessors.

77.     Mr. Purnell was exposed to Paraquat manufactured, formulated and/or distributed by FMC

Corporation or its predecessors.

78.     The Paraquat to which Mr. Purnell was exposed entered his body through absorption or

penetration of the skin, mucous membranes, and other epithelial tissues (including tissues of the

mouth, nose and nasal passages, trachea, and conducting airways, particularly where cuts,

abrasions, rashes, sores, or other tissue damage are present); 2) through the olfactory bulb; 3)

through respiration into the lungs; and 4) through ingestion into the digestive tract of small droplets

swallowed after entering the mouth, nose, or conducting airways. Once absorbed, the Paraquat

entered his bloodstream, attacked his nervous system, and was substantial factor in causing him to

suffer Parkinson’s disease.

79.     Mr. Purnell was diagnosed with Parkinson’s disease in 2019.

80.     Mr. Purnell had no reason to suspect the diagnosis was connected to his past Paraquat

exposure.

81.     Mr. Purnell was never told, either by a medical professional, by media, or by the

Defendants, that exposure to Paraquat could cause him to suffer Parkinson’s disease.

82.     Mr. Purnell first heard of the linkage between Paraquat and Parkinson’s disease within a
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year of filing this action.

83.     Mr. Purnell had no reason to suspect that his working with Paraquat could cause him to

suffer Parkinson’s disease or long-term neurological damage.

84.     SCPLLC and its predecessors’ acts and omissions were a legal, proximate, and substantial

factor in causing Mr. Purnell to suffer severe and permanent physical injuries, pain, mental

anguish, and disability, and will continue to do so for the remainder of his life.

85.     Chevron U.S.A. and its predecessors’ acts and omissions were a legal, proximate, and

substantial factor in causing Mr. Purnell to suffer severe and permanent physical injuries, pain,

mental anguish, and disability, and will continue to do so for the remainder of his life.

86.     FMC Corporation’s acts and omissions were a legal, proximate, and substantial factor in

causing Mr. Purnell to suffer severe and permanent physical injuries, pain, mental anguish, and

disability, and will continue to do so for the remainder of his life.

87.     By reason of the premises, it became necessary for Mr. Purnell to incur expenses from

medical care and treatment, and related costs and expenses required in the care and treatment of

said injuries. Mr. Purnell’s damages in this respect are presently unascertained as said services are

still continuing.

88.     By reason of the premises, it will be necessary for Mr. Purnell to incur future expenses for

medical care and treatment, and related costs and expenses required for future care and treatment.

Mr. Purnell’s damages in this respect are presently unascertained as said services are still

continuing. Mr. Purnell prays leave to insert elements of damages in this respect when the same

are finally determined.

89.     By reason of the premises, Mr. Purnell has been at times unable to follow Mr. Purnell’s

regular employment, incurring special damages in a presently unascertained sum as said loss is

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still continuing. Mr. Purnell prays leave to insert elements of damages with regards to past wage

loss, future wage loss, and lost earning capacity when the same are finally determined.

90.     By reason of the premises, Mr. Purnell has suffered general (non-economic) damages in a

sum in excess of the jurisdictional minimum of this court.

91.     By reason of the premises, Mr. Purnell has suffered special (economic) damages in a sum in

excess of the jurisdictional minimum of this court.

                                     CAUSES OF ACTION

              COUNT I - STRICT PRODUCTS LIABILITY DESIGN DEFECT

92.     Plaintiff incorporates by reference each allegation set forth in preceding paragraphs as if

fully stated herein.

93.     Defendants are liable to Plaintiff under a products liability theory for marketing a

defectively-designed product, as well as for failing to adequately warn of the risk of severe

neurological injury caused by chronic, low-dose exposure to Paraquat.

94.     At all relevant times, Chevron U.S.A. Inc., the Syngenta Defendant, FMC Corporation, and

their corporate predecessors designed, manufactured, distributed, and sold Paraquat for use in the

Commonwealth of Pennsylvania.

95.     At all relevant times and places, the Paraquat that Chevron U.S.A. Inc., the Syngenta

Defendant, FMC Corporation, and their corporate predecessors, designed, manufactured,

distributed, and sold was used in the intended or a reasonably foreseeable manner.

96.     Plaintiff was exposed to Paraquat that Chevron U.S.A. Inc., the Syngenta Defendant, FMC

Corporation, and their corporate predecessors designed, manufactured, distributed, and sold. As a

result of that exposure, Paraquat entered Plaintiff’s body causing Plaintiff to develop Parkinson’s

disease or its predecessor.

97.     The Paraquat that Chevron U.S.A. Inc., the Syngenta Defendant, FMC Corporation, and
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their corporate predecessors designed, manufactured, distributed, and sold did not perform as

safely as an ordinary consumer would have expected it to perform when used in the intended or a

reasonably foreseeable manner, in that:

          a.      as designed, manufactured, formulated and packaged Paraquat was likely to be

         inhaled, ingested, and absorbed into the bodies of persons who used it, who were nearby

         while it was being used, or who entered fields or orchards where it had been sprayed (or

         areas near where it had been sprayed); and

          b.      when inhaled, ingested, or absorbed into the body, it was likely to cause

         neurological damage that was both permanent and cumulative, and repeated low-dose

         exposures were likely to cause neurodegenerative disease, including Parkinson’s disease.

98.     Alternatively, Chevron U.S.A. Inc., the Syngenta Defendant, FMC Corporation, and their

corporate predecessors’ Paraquat products were defectively designed in that the risk of danger

inherent in the challenged design outweighed the benefits of such design, considering, among other

relevant factors, the gravity of the danger posed by the challenged design, the likelihood that such

danger would occur, the mechanical feasibility of a safer alternative design, the financial cost of

an improved design, and the adverse consequences to the product and to the consumer that would

result from an alternative design.

99.     The design defect existed when the Paraquat left Chevron U.S.A. Inc., the Syngenta

Defendant, FMC Corporation, and their corporate predecessors, and their corporate predecessors’

possession and control.

        WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in Plaintiff’s

favor for compensatory and punitive damages, together with interest, costs herein incurred,

attorneys’ fees and all relief as this Court deems just and proper. Additionally, Plaintiff demands

a jury trial on all issues contained herein.

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           COUNT II - STRICT PRODUCTS LIABILITY FAILURE TO WARN

100.   Defendants are also liable to Plaintiff under a products liability theory based on their failure

to adequately warn of the risks of Paraquat. Plaintiff incorporates by reference each allegation set

forth in preceding paragraphs as if fully stated herein.

101.   When Chevron U.S.A. Inc., the Syngenta Defendant, FMC Corporation, and their

corporate predecessors manufactured and sold the Paraquat to which Plaintiff was exposed, it was

known or knowable to Defendants in light of scientific knowledge that was generally accepted in

the scientific community that:

          a.        Paraquat was designed, manufactured, formulated, and packaged such that it was

         likely to be inhaled, ingested, and absorbed into the bodies of persons who used it, who

         were nearby while it was being used, or who entered fields or orchards where it had been

         sprayed or areas near where it had been sprayed; and

          b.        when inhaled, ingested, or absorbed into the body, it was likely cause latent

         neurological damage that was both permanent and cumulative, and that repeated, low-

         dose exposures were likely to cause neurodegenerative disease, including Parkinson’s

         disease.

102.   The risk of contracting Parkinson’s disease from chronic, low-dose exposure to Paraquat

presented a substantial danger to users of Paraquat when the product was used in a reasonably

foreseeable manner.

103.   An ordinary consumer would not have recognized the potential risk of permanent,

irreversible neurological damage, including the risk of contracting Parkinson’s disease, from

chronic, low-dose exposure to Paraquat.

104.   Chevron U.S.A. Inc., the Syngenta Defendant, FMC Corporation, and their corporate

predecessors failed to warn of the potential risk of permanent, irreversible neurological damage

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from chronic, low-dose exposure to Paraquat, and failed to provide adequate instructions regarding

avoidance of these risks.

105.    As a direct and proximate result of Chevron U.S.A. Inc., the Syngenta Defendant, FMC

Corporation, and their corporate predecessors’ marketing a defective product, Plaintiff suffered

the injuries described in this Complaint.

        WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in Plaintiff’s

favor for compensatory and punitive damages, together with interest, costs herein incurred,

attorneys’ fees and all relief as this Court deems just and proper. Additionally, Plaintiff demands

a jury trial on all issues contained herein.

                                   COUNT III - NEGLIGENCE

106.    Plaintiff incorporates by reference each allegation set forth in preceding paragraphs as if

fully stated herein.

107.    At all relevant times, Chevron U.S.A. Inc., the Syngenta Defendant, FMC Corporation, and

their corporate predecessors designed, manufactured, distributed, and sold Paraquat for use in the

Commonwealth of Pennsylvania.

108.    Plaintiff was exposed to Paraquat that Chevron U.S.A. Inc., the Syngenta Defendant, FMC

Corporation, and their corporate predecessors marketed, manufactured, distributed, and/or sold.

109.    The Paraquat to which Plaintiff was exposed was used in the intended or a reasonably

foreseeable manner.

110.    At all times relevant to this claim, in researching, designing, manufacturing, packaging,

labeling, distributing, and selling Chevron U.S.A. Inc., the Syngenta Defendant, FMC

Corporation, and their corporate predecessors owed a duty to exercise ordinary care for the health

and safety of the persons whom it was reasonably foreseeable could be exposed to Paraquat,

including Plaintiff.

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111.   When Chevron U.S.A. Inc., the Syngenta Defendant, FMC Corporation, and their corporate

predecessors designed, manufactured, packaged, labeled, distributed, and sold the Paraquat to

which Plaintiff was exposed, it was reasonably foreseeable that Paraquat:

         a.      was likely to be inhaled, ingested, and absorbed into the bodies of persons who

         used it, who were nearby while it was being used, or who entered fields or orchards where

         it had been sprayed or areas near where it had been sprayed; and

         b.      when inhaled, ingested, or absorbed into the bodies of persons who used it, who

         were nearby while it was being used, or who entered fields or orchards where it has been

         sprayed or areas near where it has been sprayed, it was likely to cause neurological

         damage that was both permanent and cumulative, and repeated exposures were likely to

         cause neurodegenerative disease, including Parkinson’s disease.

112.   In breach of the aforementioned duty to Plaintiff, Chevron U.S.A. Inc., the Syngenta

Defendant, FMC Corporation, and their corporate predecessors negligently:

         a.      failed to design, manufacture, formulate, and package Paraquat to make it

         unlikely to be inhaled, ingested, and absorbed into the bodies of persons who used it, who

         were nearby while it was being used, or who entered fields or orchards where it had been

         sprayed or areas near where it had been sprayed;

         b.      designed, manufactured, and formulated Paraquat such that it was likely to cause

         neurological damage that was both permanent and cumulative, and repeated exposures

         were likely to cause clinically significant neurodegenerative disease, including

         Parkinson’s disease;

         c.      failed to conduct adequate research and testing to determine the extent to which

         exposure to Paraquat was likely to occur through inhalation, ingestion, and absorption

         into the bodies of persons who used it, who were nearby while it was being used, or who

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         entered fields or orchards where it had been sprayed or areas near where it had been

         sprayed;

         d.      failed to conduct adequate research and testing to determine the extent to which

         Paraquat spray drift was likely to occur, including its propensity to drift, the distance it

         was likely to drift, and the extent to which Paraquat spray droplets were likely to enter

         the bodies of persons spraying it or other persons nearby during or after spraying;

         e.      failed to conduct adequate research and testing to determine the extent to which

         Paraquat was likely to cause or contribute to cause latent neurological damage that was

         both permanent and cumulative, and the extent to which repeated exposures were likely

         to cause or contribute to cause clinically significant neurodegenerative disease, including

         Parkinson’s disease;

         f.      failed to direct that Paraquat be used in a manner that would have made it unlikely

         to be inhaled, ingested, and absorbed into the bodies of persons who used it, who were

         nearby while it was being used, or who entered fields or orchards where it had been

         sprayed or areas near where it had been sprayed; and

         g.      failed to warn that Paraquat was likely to cause neurological damage that was

         both permanent and cumulative, and repeated exposures were likely to cause clinically

         significant neurodegenerative disease, including Parkinson’s disease.

113.   Chevron U.S.A. Inc., the Syngenta Defendant, FMC Corporation, and their corporate

predecessors knew or should have known that users would not realize the dangers of exposure to

Paraquat and negligently failed to take reasonable steps to prevent the foreseeable risk of harm

from exposure to Paraquat.

114.   As a direct and proximate result of Chevron U.S.A. Inc., the Syngenta Defendant, FMC

Corporation, and their corporate predecessors’ negligence, Plaintiff suffered the injuries described

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in this Complaint.

115.    Additionally, in the course of designing, manufacturing, packaging, labeling, distributing,

and selling Paraquat, Chevron U.S.A. Inc., the Syngenta Defendant, FMC Corporation, and their

corporate predecessors violated laws, statutes, and regulations, including but not limited to:

sections of Food & Agriculture Code, Division 7, Chapter 2 (Pesticides) and sections of Title 3,

California Code of Regulations, Division 6 (Pesticides).

116.    Plaintiff was a member of the class of persons that said laws, statutes, and regulations were

intended to protect.

117.    Chevron U.S.A. Inc., the Syngenta Defendant, FMC Corporation, and their corporate

predecessors’ violations of said laws, statutes, and regulations were also substantial factors in

causing Plaintiff’s injuries.

118.    The injuries that resulted from Chevron U.S.A. Inc., the Syngenta Defendant, FMC

Corporation, and their corporate predecessors’ violations were the kind of occurrence the laws,

statutes, and regulations were designed to protect.

        WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in Plaintiff’s

 favor for compensatory and punitive damages, together with interest, costs herein incurred,

 attorneys’ fees and all relief as this Court deems just and proper. Additionally, Plaintiff demands

 a jury trial on all issues contained herein.

       COUNT IV - BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

119.    Plaintiff incorporates by reference each allegation set forth in the preceding paragraphs as

if fully stated herein.

120.    At all relevant times, Chevron U.S.A. Inc., the Syngenta Defendant, FMC Corporation, and

their corporate predecessors engaged in the business of designing, manufacturing, distributing, and

selling Paraquat and other restricted-use pesticides and held themselves out as having special

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knowledge or skill regarding Paraquat and other restricted-use pesticides.

121.    At all relevant times, Chevron U.S.A. Inc., the Syngenta Defendant, FMC Corporation, and

their corporate predecessors designed, manufactured, distributed, and sold Paraquat for use in the

State of Pennsylvania and nationally.

122.    Plaintiff was exposed to Paraquat that Chevron U.S.A. Inc., the Syngenta Defendant, FMC

Corporation, and their corporate predecessors, marketed, designed, manufactured, distributed,

and/or sold.

123.    The Paraquat to which Plaintiff was exposed was not fit for the ordinary purposes for which

it was used, and in particular:

         a.       it was designed, manufactured, formulated, and packaged such that it was likely

         to be inhaled, ingested, and absorbed into the bodies of persons who used it, who were

         nearby while it was being used, or who entered fields or orchards where it had been

         sprayed or areas near where it had been sprayed; and

         b.       when inhaled, ingested, or absorbed into the bodies of persons who used it, who

         were nearby while it was being used, or who entered fields or orchards where it had been

         sprayed or areas near where it had been sprayed, it was likely to cause neurological

         damage that was both permanent and cumulative, and repeated exposures were likely to

         cause neurodegenerative disease, including Parkinson’s disease.

124.    As a direct and proximate result of Chevron U.S.A. Inc., the Syngenta Defendant, FMC

Corporation, and their corporate predecessors’ breach of implied warranty, Plaintiff suffered the

injuries herein described.

        WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in Plaintiff’s

 favor for compensatory and punitive damages, together with interest, costs herein incurred,

 attorneys’ fees and all relief as this Court deems just and proper. Additionally, Plaintiff demand a

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 jury trial on all issues contained herein.

                               COUNT V- PUNITIVE DAMAGES

125.    Plaintiff incorporates by reference each allegation set forth in preceding paragraphs as if

fully stated herein.

126.    Defendants’ conduct as alleged herein was done with oppression, fraud, and malice.

Defendants were fully aware of the safety risks of Paraquat. Nonetheless, Defendants deliberately

crafted their label, marketing, and promotion to mislead farmers and consumers.

127.    This was not done by accident or through some justifiable negligence. Rather, Defendants

knew that it could turn a profit by convincing the agricultural industry and medical community

that Paraquat did not cause Parkinson’s disease, and that full disclosure of the true risks of Paraquat

would limit the amount of money Defendants would make selling Paraquat. Furthermore,

Defendants were aware that low-dose Paraquat exposure could cause or significantly increase the

risk of Parkinson’s disease or its symptoms by the 1970s at the latest. Yet they did not inform users

through updated labels or other means of the risks associated with Paraquat use. Defendants’

objective of concealing the risks of Paraquat was accomplished not only through its misleading

labeling, but through a comprehensive scheme of selective and fraudulent research and testing,

misleading advertising, and deceptive omissions as more fully alleged throughout this pleading.

Plaintiff was denied the right to make an informed decision about whether to purchase, use, or be

exposed to an herbicide, knowing the full risks attendant to that use. Such conduct was done with

conscious disregard of Plaintiff’s rights.

128.    There is no indication that Defendants will stop their deceptive and unlawful marketing

practices unless they are punished and deterred. Accordingly, Plaintiff requests punitive damages

against the Defendants for the harms caused to Plaintiff.

        WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in Plaintiff’s

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favor for compensatory and punitive damages, together with interest, costs herein incurred,

attorneys’ fees and all relief as this Court deems just and proper. Additionally, Plaintiff demands a

jury trial on all issues contained herein.


                                       PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for judgment against all Defendants as follows:
        (1)     Judgment for Plaintiff against Defendants;

        (2)     For medical and related expenses, according to proof;

        (3)     For loss of earnings and/or earning capacity, according to proof

        (4)     For exemplary or punitive damages, according to proof;

        (5)     For treble damages;

        (6)     For mental and physical suffering, according to proof;

        (7)     For Plaintiff’s cost of suit herein;

        (8)     For disgorgement of profits, according to proof;

        (9)     Default judgment as a sanction for the bad faith destruction of evidence, if any,

        and according to proof, if any; and

        (10)    For such other and further relief as this Court may deem just and proper, including

        prejudgment interest.

                                  DEMAND FOR JURY TRIAL
        Plaintiff demands a jury trial on all claims so triable in this action.


Dated: July 5, 2022

                                                               Respectfully submitted,

                                                               /s/ Tayjes Shah                 _
                                                               Tayjes Shah (Identification No.: 307899)
                                                               THE MILLER FIRM, LLC
                                                               108 Railroad Avenue
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                                               VERIFICATION

    I, Johnnie Purnell , hereby state that I am a Plaintiff in this action and I verify that the statements made in
the foregoing Complaint are true and correct to the best of my knowledge, information and belief. I
understand that the statements therein are made subject to the penalties of 18 Pa. C.S. § 4904 relating to
unsworn falsification to authorities.

      July 1, 2022




                                                         Johnnie Purnell




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